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                                                                             Exhibit 1BB
                                               White Decl. ISO Disney's SJ Motion P.0557
  Case 2:15-cv-05346-CJC-E Document 469-21 Filed 12/10/20 Page 2 of 13 Page ID
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                          #:32965




                                                                             Exhibit 1BB
                                               White Decl. ISO Disney's SJ Motion P.0558
  Case 2:15-cv-05346-CJC-E Document 469-21 Filed 12/10/20 Page 3 of 13 Page ID
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                          #:32966




                                                                             Exhibit 1BB
                                               White Decl. ISO Disney's SJ Motion P.0559
  Case 2:15-cv-05346-CJC-E Document 469-21 Filed 12/10/20 Page 4 of 13 Page ID
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                          #:32967




                                                                             Exhibit 1BB
                                               White Decl. ISO Disney's SJ Motion P.0560
   Case 2:15-cv-05346-CJC-E Document 469-21 Filed 12/10/20 Page 5 of 13 Page ID
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                           #:31258
                           #:32968
                         December         TO BE FILED UNDER SEAL7
                                   16, 2019

    1                             PROCEEDINGS

    2                   THE VIDEOGRAPHER:       We're now on record.

    3 The date is December 16th, 2019.          The time is 9:12 a.m.

    4 This is the video deposition of Dr. Stephen Elliott in

    5 the matter of T.P., et al., versus Walt Disney Parks and

    6 Reporters [sic] U.S., Incorporated.           This deposition is

    7 being held at McDermott Will & Emery in Dallas, Texas.

    8                   Counsel, please state your appearances

    9 for the record.

   10                   MR. LAZZARA:     Domenick Lazzara on behalf

   11 of the plaintiff in this case, and my firm is

   12 Dom Law PA.

   13                   MR. WHITE:     Jeremy White on behalf of

   14 defendant, Walt Disney Parks and Resorts U.S.,

   15 Incorporated.

   16                   THE VIDEOGRAPHER:       Will the court

   17 reporter please swear in the witness.

   18                   [Witness sworn.]

   19                      DR. STEPHEN ELLIOTT,

   20 having first been duly affirmed by me to tell the truth,

   21 was examined and testified as follows:

   22                             EXAMINATION

   23       Q     (BY MR. WHITE)     Good morning.

   24       A     Good morning.

   25       Q     Can you please state your full name for the


                                   U.S. LEGAL SUPPORT                       Exhibit 1BB
                                              White Decl. ISO Disney's SJ Motion P.0561
                                     (877) 479-2484
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  Case 2:15-cv-05346-CJC-E Document 469-21 Filed 12/10/20 Page 10 of 13 Page ID
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  Case 2:15-cv-05346-CJC-E Document 469-21 Filed 12/10/20 Page 11 of 13 Page ID
REDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
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  Case 2:15-cv-05346-CJC-E Document 469-21 Filed 12/10/20 Page 12 of 13 Page ID
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                                                                             Exhibit 1BB
                                               White Decl. ISO Disney's SJ Motion P.0568
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                                                                             Exhibit 1BB
                                               White Decl. ISO Disney's SJ Motion P.0569
